                        Case 6:07-mj-02002-TC                 Document 1       Filed 01/12/07              Page 1 of 4




                                United States District Court
                                                                 DISTRICT OF        OREGON




                                   v.                                             CRIMINAL COMPLAINT
                  ELIA NEWTON PENDERGRASS
                                                                                  CASE      NUMBER:^^



       I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about            Januarv 8.2007                           in       Lane                      County, in the

District of     Oregon                    defendant Elia Newton Pendernrass                               did, (Track Statutory Language of Offense)

 by force, violence, and intimidation unlawfully, knowingly and willfully take from the person and presence of an
employee of the Siuslaw Valley Bank, 10756 Highway 126, Mapleton, Oregon, a sum of money to wit; approximately
$1,647.00 in U.S. currency, which money was then and there in the care, custody, control, management, and
possession of said bank, whose deposits were then and there insured by the Federal Deposit Insurance Corporation
(FDIC)

in violation of Title      18                        United States Code, Section(s)        2113(a)

I further state that I am a Svecial Agent ofthe FBI and that this complaint is based on the following facts:
                                    Official Title


         See Attached Affidavit.




Continued on the attached sheet and made a part hereof:                   mres                       No


                                                                                  Scignature of Complainant
                                                                             James M. Brown
Sworn to before me and subscribed in my presence,                            Special Agent
                                                                             Federal Bureau of Investigation


Date
              iz/o7                                                     Eugene, Oreaon
                                                                         City and State       1
                                                                                 4




THOMAS M. COFFIN. U.S. Magistrate Judge                                         (@ re of Judicial Officer
Name & Title of Judicial Officer
           Case 6:07-mj-02002-TC         Document 1       Filed 01/12/07     Page 2 of 4




STATE OF OREGON )
                       ) ss.                                       AFFIDAVIT
COUNTY OF LANE )



       I, James M. Brown, being duly sworn, depose and say:

       1. I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been so

employed since May 2001. 1am currently assigned to the Portland Division, Eugene Resident

Agency. As a Special Agent with the FBI 1have investigated numerous matters involving Bank

Robbery.

       2. In connection with my official duties, I learned that a robbery of the Siuslaw Valley

Bank located at 10756 Highway 126, Mapleton, Oregon was robbed on January 8,2007, at

approximately 11:OO am. This robbery was committed by a white male that was known to the

victim teller and other bank employees as Elia Pendergrass.

       3. The basis of my knowledge is by information that has been provided to me by oral

accounts and in documentation produced by both FBI agents and Lane County Sheriffs Office

(LCSO) Law enforcement officers.

       4. The victim teller, Anne Hendrickson, advised LSCO Det. Kurt Jahnke that she was

working at the Siuslaw Valley Bank at the time of the robbery on January 8,2007. She was at

her position when Elia Pendergrass entered the bank. He walked up to the counter and told her

that he needed some money. Hendnckson provided Pendergrass with a withdrawal slip to begin

the transaction when Pendergrass informed her that he did not have an open account. She then

said, "You're kidding right?" and Pendergrass said, "No, I guess I'm robbing you." Pendergrass

produced a yellow plastic bag from hs clothing and handed it to Hendrickson.

       5. Hendrickson advised that she was familiar with Pendergrass' past and knew him to be
            Case 6:07-mj-02002-TC         Document 1       Filed 01/12/07     Page 3 of 4




a volitile and violent person. Hendrickson stated that she feared Pendergrass would cause her

serious injury if she did not comply.

         6. Katherine West, the manager of the bank, advised that she has known Pendergrass for

a long time, both as a former account holder at the bank and as a long-time Mapleton, Oregon

resident. West overheard Pendergrass say to the victim teller words to the effect of, "You know

who I am. I'm Elia."

         7. West advised that the bank was federally insured by the FDIC. She provided the

FDIC number as 19006. West further advised that Pendergrass obtained $1,647.00 of United
States Currency from the bank.

         8. Peggy Simington, another teller at the bank, observed and talked to the male she

knows as Elia Pendergrass while he was at the victim teller's station. Simington did not realize

that a robbery was taking place but is aware that no one else was at Hendrickson's station after

Pendergrass left the bank and Hendrickson alerted the employees of the robbery.

         9. Stephanie Burnett, a bank customer and a person who knows Elia Pendergrass as a

violent person who uses illegal drugs, was also at the bank at the time the robbery occurred.

Burnett advised she observed Pendergrass at the bank talking to Peggy Simington. Burnett

further observed Pendergrass produce a yellow plastic bag from his clothing but thought nothing

of it.

         10. On January 10,2007, Pendergrass was interviewed by Carl Wilkerson of the Lane

County Sheriffs Office in Eugene, Oregon. Prior to the interview, Pendergrass was advised of

his Miranda Rights and he signed the document waiving these rights. During this interview,

Pendergrass admitted to robbing the Siuslaw Valley Bank. According to Deputy Detective

Wilkerson, Pendergrass' confession was consistent with the known facts of the robbery.
           Case 6:07-mj-02002-TC         Document 1       Filed 01/12/07     Page 4 of 4




The following facts regarding the robbery were provided by Pendergrass:

               a. Pendergrass admitted that he robbed the Siuslaw Valley Bank in Mapleton,
                  Oregon.
               b. Pendergrass estimated that he obtained approximately $2,000 from the bank.
               c. Pendergrass admitted that he possessed three firearms in the vehicle he utilized
                  as his get away vehicle. He described the weapons as a .22 caliber rifle, an
                  SKS type assault rifle and a nickle plated pump action shotgun.
               d. Pendergrass admitted that he spent the majority of the money on gasoline,
                  tobacco, alcohol and methamphetamine.
               e. Pendergrass admitted that he was intoxicated at the time of the robbery.

       11. A review of Pengergrass' criminal history report indicates that he has three

misdemeanor convictions for Assault 4th Degree, Menacing, and Animal Abuse in the 1st

Degree. He also has arrests for contempt of court and manufacturingldelivering controlled

substances.

       12. I have discussed this matter with Assistant United States Attorney John Ray and

based upon the above information, he and I believe that there is probable cause to believe and do

believe that Elia Newton Pendergrass robbed a federally insured bank in Violation of Title 18,

United States Code, Section 2113(a).




                                                            Special Agent
                                                            Federal Bureau of Investigation




Sworn to before me and subscribed in my presence this %ay        of January 2007.



                                                             7q
                                                            Thomas M. offm
                                                            United States Magistrate
                                                            District of Oregon
